                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

                           CIVIL ACTION NO.: 5:22-cv-00068-BO

YOLANDA IRVING, individually and as the           )
natural parent and guardian of J. I., JUWAN       )
HARRINGTON, CYDNEEA HARRINGTON,                   )
KENYA WALTON, individually and as the             )
natural parent and guardian of R.W., ZIYEL        )
WHITLEY, DYAMOND WHITLEY,                         )
KAMISHA WHITLEY, NANETTA GRANT as                 )
the natural parent and guardian of Z. G., and     )
EMANCIPATE NC., INC.                              )
                                                  )
                       Plaintiffs,                )
vs.                                               )
                                                  )
THE CITY OF RALEIGH, Officer OMAR I.              )
ABDULLAH, Sergeant WILLIAM ROLFE,                 )
Officer RISHAR PIERRE MONROE, Officer             )
JULIEN DAVID RATTELADE, and Officer               )
MEGHAN CAROLINE GAY, Officer DAVID                )
MEAD, Officer JESUS ORTIZ, Officer KYLE           )
PERRIN, Officer MICHAEL MOLLERE,                  )
Officer, KYLE THOMPSON, Officer                   )
VINCENT DEBONIS, Officer DANIEL                   )
TWIDDY, Officer THOMAS WEBB, Officer              )
DAVID MCDONALD, Officer DAVID                     )
GARNER, Chief of Police ESTELLA                   )
PATTERSON and City Manager MARCHELL               )
ADAMS-DAVID, in their official capacities.        )
                                                  )
                       Defendants.                )

                           APPENDIX OF EXHIBITS
 to Memorandum of Law in Support of Defendant Gay, Monroe and Rattelade’s Motion
                            for Summary Judgment

      EXHIBIT A                Deposition of Sergeant Julien David Rattelade

      EXHIBIT B                  Deposition of Officer Rishar Pierre Monroe

      EXHIBIT C                 Deposition of Officer Meghan Carolina Gay




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EXHIBIT D                  Deposition of Officer Omar Abdullah

EXHIBIT E                   Deposition of Officer William Rolfe

EXHIBIT F                       Deposition of Kenya Walton

EXHIBIT G                   Deposition of Officer Jesus M. Ortiz

EXHIBIT H                    Deposition of Officer David Mead

EXHIBIT I            Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986)

EXHIBIT J    Cray Commc’ns, Inc. v. Novatel Computer Sys., Inc., 33 F.3d 390,
                                393–94 (4th Cir. 1994)

EXHIBIT K       Bailey v. Polk, 2011 WL 4565469 (W.D.N.C. March 7, 2011)

EXHIBIT L       Franks v. Delaware, 438 U.S. 154,171 98 S. Ct. 2674 (1978)

EXHIBIT M        Miller v. Prince George’s County, Md., 475 F. 3d 621, 627
                                      (4th Cir. 2007)

EXHIBIT N          Hinkle v. City of Clarksburg, W. Va., 81 F.3d 416, 421
                                        (4th Cir.1996)

EXHIBIT O            Hafner v. Brown, 983 F.2d 570, 577 (4th Cir.1992)

EXHIBIT P     Randall v. Prince George’s Cty, 302 F.3d 188, 204 (4th Cir. 2002)




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